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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §   CASE NO. 4:23-CR-218
 vs.                                                  §
                                                      §
 (1) HARDIK JAYANTILAL PATEL,                         §
                                                      §
                       Defendant.                     §

                                          ORDER

       The Court, having considered the Government’s Unopposed Motion to Extend Sentencing

Date and Related Deadlines, hereby GRANTS the motion and resets the sentencing dates as set

forth below.

       1.      The Probation Office will disclose the initial Presentence Investigation Report

(PSR) to counsel by __________________.

       2.      Counsel will file any objections or a statement of no objection to the PSR by

_________________________.

       3.      The Probation Office will submit the final PSR with an addendum 7 days prior to

sentencing.

       4.      Sentencing will take place on _____________________ at _______________.

       Signed on _______________________________, 2024.


                                           _________________________
                                           Andrew S. Hanen
                                           United States District Judge
